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                 Exhibit V
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                                   Ghislaine Maxwell


                    Opinion on French Extradition Law


                                           OVERVIEW


x   This report was written pursuant to a request from Olivier Laude, a partner at the French
    firm Laude Esquier Champey acting on behalf of Cohen & Gresser LLP as counsel for
    Ms Ghislaine Maxwell, in the context of ongoing bail proceedings involving the latter
    in the United States of America (hereafter “USA”), where Ms Ghislaine Maxwell is
    being detained pre-trial on charges relating to her alleged role in sexual activities
    between Jeffrey Epstein and certain minor girls, from 1994 to 1997.


x   Olivier Laude has instructed me to draft an opinion regarding the French extradition
    procedure and the possibility for Ms Ghislaine Maxwell to be extradited from France to
    the USA if she were to flee to France after being released on bail in the USA.

x   As requested, I have attached a resume. (See Exhibit A).



                                  EXECUTIVE SUMMARY


x   The principle against the extradition of French nationals does not constitute a binding
    rule of international law and is not considered a constitutional principle under French
    law.


x   The extradition of French nationals can be prohibited under the terms of an international
    treaty. However, the existing Extradition Treaty between France and the USA of 23
    April 1996 does not contain such prohibition. As a result, the extradition of a French
    national to the USA is legally permissible under French law.


x   In order to assure the US authorities that she will not attempt to contest her extradition
    as a French citizen or otherwise, we are informed that Ms Maxwell is about to execute
    an irrevocable waiver of her right to seek the protection of the French Courts to fight




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    any extradition request from the US Government to the competent French Authorities
    (“The Waiver”). (See Exhibit B).


x   All extradition requests from the USA to France must be examined by the Investigating
    Chamber of the competent Court of appeal, which has jurisdiction over the legality of
    extradition requests in France.


x   Under the circumstances of this case, where Ms Maxwell would have fled from the USA
    to France prior to her trial in violation of her bail conditions, it is highly likely that Ms
    Maxwell would be placed in custody in France from the earliest stages of the extradition
    proceedings.


x   As the principle against the extradition of nationals is not part of the Extradition Treaty
    between the USA and France, the Investigating Chamber of the Court of appeal would
    not oppose the extradition of Ms Ghislaine Maxwell on the ground that she is a French
    citizen.


x   The final decision to extradite and its execution would ultimately be a matter for the
    executive.


x   In the recent past, I am not aware that the French authorities would have had to address
    the situation in which the United States sought extradition of a French citizen who was
    also a United States citizen. Thus, there is no precedent to draw from in that
    regard. However, it is our view that under the specific and unique facts of this case, it
    is highly unlikely that the French government would refuse to issue and execute an
    extradition decree against Ms Maxwell because of several critical factors, namely: her
    United States citizenship; the fact that she has signed an irrevocable Waiver in the USA;
    the fact that in the present situation, the only way the issue would be raised in France is
    if Ms. Maxwell would have already fled to France in violation of very strict bail
    conditions, and the fact that a failure by French authorities to grant extradition would
    result in an obligation to try Ms. Maxwell before French courts for the conduct described
    in the Indictment. Finally, France would be inclined to preserving the interests of the
    USA for obvious diplomatic reasons.


x   With regard to timing, if the requested person has consented to extradition, the
    Investigating Chamber must deliver its ruling no later than 14 working days after the



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         person has first appeared before the Public Prosecutor 1. If the legal conditions of
         extradition are satisfied, the Investigating Chamber must issue a positive opinion to
         extradition, which is not subject to appeal. Following the Investigating Chamber’s
         ruling, there is no specified time frame within which the government must issue an
         extradition decree. However, if the requesting State emphasizes the urgent nature of the
         request, the extradition decree is generally issued in only a few weeks. Therefore, the
         overall procedure is likely to be disposed of expediently under these circumstances.




1
  The 14 days period is divided as follows: the requested person must appear before the Public Prosecutor within
2 days of arrest, he or she must be heard by the Investigating Chamber no later than 5 working days after appearing
before the Public Prosecutor, and the Investigating Chamber must then deliver its final opinion on the legality of
the extradition request within 7 days. This procedure will be explained in more details in Part I of this opinion.



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Background

      1. At the bail hearing of Ms Ghislaine Maxwell on 14 July 2020, the US Government made
           the following point in support of its motion to detain the defendant:
                 “The government has spoken with the Department of Justice attachés in the
                 United Kingdom and France. With respect to France, we have been informed
                 that France will not extradite a French citizen to the United States as a
                 matter of law, even if the defendant is a dual citizen of the United States.”2.

      2. The international ties of Ms Ghislaine Maxwell and her French nationality appear as one
         of the grounds for which bail was denied by the Court, which found that:

            “Ms Maxwell’s history and characteristics support the position of her posing a risk of
            flight. Ms Maxwell has substantial international ties and could facilitate living abroad
            if she were to flee the United States. She holds multiple foreign citizenships, has familial
            and personal connections abroad, and owns at least one foreign property of significant
            value. In particular, she is a citizen of France, a nation that does not appear to
            extradite its citizens”.

      3. The present report intends to evaluate whether the contention that France is a nation that
           does not extradite its citizens is correct as a matter of law.

      4. It will first set out the various steps of the French extradition procedure (Part I), and
         then outline the grounds on which extradition requests are analyzed under French law,
           and especially the status of the rule against extradition of nationals, in order to assess the
           application of these principles to an extradition request made by the USA, in particular
           where, as in this case, the requested person has executed an irrevocable waiver of his/her
           right to contest extradition and is present in France only because she fled the United
           States in violation of her bail conditions. (Part II).




2
    At p. 27 of the transcript.



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                            Part I – The French Extradition Procedure

     5. Extradition requests between the United States and France are governed by the
        Extradition Treaty between the USA and France signed in Paris on 23 April 1996 3, the
        Agreement on Extradition between the United States of America and the European
        Union signed in Washington on 25 June 2003 4, and the Instrument Amending the Treaty
        of 23 April 1996 between the United States of America and France signed in the Hague
        on 30 September 20045.

     6. For matters not covered in these agreements, extradition requests made by the USA are
        governed by provisions of the French Code of Criminal Procedure (Articles 696 et seq.).


    A. First stage: Request for temporary arrest

     7. Under Article 13.1 of the Extradition Treaty between the USA and France, in case of
        urgency, the requesting State may seek the provisional arrest of the person sought
        pending the presentation of the request for extradition6.

     8. This procedure can be summarized as follows:

         -    Based on a request for provisional arrest, the Prosecutor General may order the
              arrest of the requested person.
         -    Upon arrest, the requested person must appear within 48 hours before the Prosecutor
              General, who informs him/her of the existence and contents of the request for
              temporary arrest and of his/her rights.
         -    The Prosecutor may decide to release the requested person, based on the relevant
              flight risks.
         -    If the Prosecutor considers that the requested person should be detained, the
              requested person appears before the 1st President of the Court of appeal, who can
              decide to order either his/her release (without any control, or under judicial

3
  The Extradition Treaty between the USA and France entered into force in France on February 1, 2002 (by Decree
n° 2002–117 of 29 January 2002).
4
  The object of this agreement is “to provide for enhancements to cooperation in the context of applicable
extradition relations between the Member States and the United States of America governing extradition of
offenders” (Article 1).
5
  The Instrument Amending the Treaty of April 23, 1996 between the USA and France entered into force in France
on February 1, 2010 (by Decree n° 2010-490 of 12 May 2010).
6
  A request for provisional arrest may be transmitted directly between the United States Department of Justice
(hereafter, “DOJ”) and the Ministry of Justice of the French Republic, through INTERPOL or the diplomatic
channel.



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               supervision, or under house arrest with electronic surveillance) or incarceration at
               the remand prison of the Court of appeal in which jurisdiction he/she has been
               apprehended.
           -   The decision of the 1st President of the Court of Appeal can be challenged before
               the Investigating Chamber of the Court of Appeal.
           -   In case of incarceration, the requested person can file an application for release
               before the Investigating Chamber of the Court of appeal at any time during the
               extradition procedure.

      9. Under Article 13.4 of the Extradition Treaty between the USA and France, if, within 60
         days of arrest, the government of the requested State has not received from the requesting
          State the formal extradition request as well as supporting documents required by the
          Treaty7, the requested person is discharged from custody. If the government has received
          the relevant documents, the normal extradition procedure may begin.


      10. If the person has been discharged from custody pursuant to Article 13.4 of the Treaty,
          such release does not preclude a subsequent re-arrest if an extradition request and
          supporting documents are delivered at a later date (Article 13.5).

      B. Second stage: Application for extradition (Ministerial phase)

      11. Article 10.1 of the Extradition Treaty between the USA and France provides that “all
          requests for extradition shall be submitted through the diplomatic channel”.

      12. The Extradition Treaty between the USA and France does not specify which internal
          procedures must be followed in each contracting State following the transmission of the
          extradition request through the diplomatic channel pursuant to Article 10. We must
          therefore refer to provisions of the French Code of Criminal Procedure to outline the
          procedure followed by French institutions upon receipt of an extradition request made
          by the USA.

      13. Under Article 696-9 of the French Code of Criminal Procedure, the procedure followed
          in France is as follows:




7
    Article 10 of the Extradition Treaty between the USA and France



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           -   The Minister of Foreign Affairs first verifies that the file is properly constituted in
               accordance with the requirements of the Extradition Treaty. The Minister of Foreign
               Affairs only verifies that the request contains all the required documents.
           -   The file is then transmitted to the Minister of Justice, which verifies the regularity
               of the request. At this stage, the French nationality of the requested person does not
               influence the control of the Minister of Justice.
           -   The Minister of Justice must then forward the file to the Prosecutor General. This
               obligation to transmit the file to the Prosecutor General is binding, as Article 696-9
               uses imperative language requiring the Minister of Justice to do so.

      C. Third stage: Arrest and presentation before the Prosecutor General (beginning of
         the judicial phase)

      14. Any person arrested pursuant to an extradition application must be transferred to the
          territorially competent Prosecutor General within 48 hours after the arrest 8.

      15. The Prosecutor General informs the requested person, in a language he or she
          understands, of:
           -   the existence and the content of the extradition application;
           -   the right to be assisted by an advocate and to have an interview with this advocate
               immediately;
           -   the right to consent to or to oppose his or her extradition, and the legal consequences
               of consenting to extradition;
           -   the right to waive the principle of specialty (according to which the person who is
               extradited can be prosecuted only for the crimes specified in the extradition request),
               and the legal consequences of such renunciation.

      16. The Prosecutor General hears the statements of the person and his or her counsel, and in
          particular, the consent or opposition to extradition, which shall be officially recorded.

      17. The Prosecutor General decides whether to release the requested person or not. If he
          considers that the requested person should remain in detention, the requested person then
          appears before the 1st President of the Court of appeal, who may order the person’s
          release (without any control, or with judicial supervision, or under house arrest with
          electronic surveillance) or his/her incarceration. The 1st President’s decision may be


8
    Article 696-10 of the French Code of Criminal Procedure.



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        appealed before the Investigating Chamber of the Court of appeal, by the Prosecutor
        General or the requested person.

     D. Fourth stage: Decision of the Investigating Chamber of the competent Court of
        appeal

     18. Once the requested person has declared to the Prosecutor General whether he consents
         or not to extradition, the Investigating Chamber is immediately seized of the case. This
        phase varies depending on whether the requested person consents to extradition.

     19. If the requested person has declared to the Prosecutor General that he or she consents to
         extradition, Article 696-13 of the French Code of Criminal Procedure provides that he
        or she must appear before the Investigating Chamber within 5 working days from the
        date of presentation before the Prosecutor General. The same provision states that the
        requested person may also decide to waive the rule of specialty before the Prosecutor
        General.


     20. If, at this appearance, the requested person confirms his or her consent to be extradited
        and the legal conditions for extradition are fulfilled, the Investigating Chamber informs
        the person of the legal consequences of such consent and formally acknowledges this
        consent within 7 days from the date of appearance, unless additional investigations have
        been ordered9.

     21. The rules of this simplified extradition procedure must be read in light of Article 11 of
         the Agreement on Extradition between the European Union and the USA of 25 June
        2003 (“Simplified extradition procedures”), which states that “if the person sought
        consents to be surrendered to the requesting State, the requested State may, in
        accordance with the principles and procedures provided for under its legal system,
        surrender the person as expeditiously as possible without further proceedings. The
        consent of the person sought may include agreement to waiver of protection of the rule
        of specialty”10. This provision, together with Article 696-13 of the French Code of
        Criminal Procedure, demonstrates that extradition law is considerate of the requested


9
  Article 696-14 of the French Code of Criminal Procedure.
10
   Such Article 11 of the Agreement on Extradition between the European Union and the USA of 25 June 2003
has been directly incorporated in the Extradition Treaty between the USA and France signed in Paris on 23 April
1996 by the Instrument Amending the Treaty of 23 April 1996 between the United States of America and France
signed in the Hague on 30 September 2004.




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        person’s intentions and recognizes that the person may legally waive some of the rights
        that attach to extradition proceedings.

     22. Where the requested person has consented to extradition, the Investigating Chamber's
         ruling is not subject to appeal or any other legal challenge 11.

     23. If the requested person has declared to the Prosecutor General that he or she does not
         consent to extradition, he or she must appear before the Investigating Chamber within a
        period of 10 working days from the date of presentation before the Prosecutor 12.

     24. If the requested person reiterates to the Investigating Chamber that he or she does not
         consent to extradition, the Court delivers a reasoned opinion on the extradition request.
        Unless additional investigations have been ordered, the Court delivers its opinion within
        one month from the requested person's appearance before it 13.

     25. The Investigating Chamber may authorize the requesting State to participate in the
        hearing. This possibility is expressly provided for in the Agreed Minute on
        Representation annexed to the Extradition Treaty between the USA and France.

     26. The Investigating Chamber issues a positive opinion if it considers that the legal
        requirements of extradition are satisfied.

     E. Fifth stage: Decision of the French government

     27. Extradition is authorized by a decree of the French Prime Minister upon the advice of
         the Minister of Justice.

     28. The decree may impose conditions to authorize extradition, such as guarantees not to
        seek or impose the death penalty against the requested person.

     29. The decree of extradition can only intervene after the end of the judicial phase.




11
   Id.
12
   Article 696-15 of the French Code of Criminal Procedure.
13
   Id.



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      30. The requested person has to be handed over by the agents of the requested State within
          one month after the extradition decree has been notified to the requesting State 14.




14
     Article 15.4 of the Extradition Treaty between the USA and France of 23 April 1996.



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F. Sixth stage: Possible application before the European Court of Human Rights

31. Once all domestic remedies have been exhausted, it is possible to file a written
   application against France before the European Court of Human Rights, within six
   months from the date of the final decision at the domestic level, alleging the violation of
   human rights protected by the European Convention of Human Rights, such as the rights
   to life, to a fair trial, not to be tortured, etc.

32. An application before the European Court of Human Rights may be accompanied by a
    written request for interim measures, pursuant to Rule 39 of the Rules of Court, such as
   a request to suspend the extradition of the applicant pending the outcome of the
   proceedings.




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 Part II – The likely outcome of an extradition request from the United States of
             America to France in the case of Ms Ghislaine Maxwell

      33. In this case, if an extradition request were to be transmitted by the USA against Ms
          Ghislaine Maxwell, the French judicial authorities would most certainly decide that she
             has to remain in custody given her flight from the USA and the violation of her bail terms
             and conditions in this requesting State.

      34. Having outlined the different stages of the French extradition procedure, the second part
             of this opinion will examine the likely outcome of an extradition request against the
             person of Ms Ghislaine Maxwell, if she were to be released on bail and decided to flee
             from the USA to France. It will first outline the general bars to extradition (A), and then
             analyze the status of the protection of nationals from extradition in the French legal
             system and in the Extradition Treaty between the USA and France (B). It will conclude
             that Ms Ghislaine Maxwell’s extradition from France to the USA would not be legally
             barred by her French citizenship, and that it is highly unlikely, under the specific and
             unique circumstances of this case, that French authorities will refuse to enforce an
             extradition decree.

       A. General bars to extradition

      35. Several bars to extradition may classically be invoked before French courts, namely (i)
          a claim that the requested person would be at risk of human rights violations in the
             requesting State (with regards to the right to a fair trial and the right to be free from
             torture, inhumane or degrading treatment); (ii) the dual criminality rule; and (iii) a claim
             that the extradition request is politically motivated.

       (i)       Human rights bars

      36. Under the case law of the French Cour de cassation, the Investigating Chamber of the
             Court of appeal must consider allegations of human rights violations pertaining to the
             conditions of trial and detention in the requesting State15. These claims center on the
             right to a fair trial (Article 6 ECHR)16 and the right to be free from torture, inhumane


15
     Cass. Crim., 26 March 2019, nNo. 19-81731.
16
     Einhorn v. France, 16/10/2001, Application No. 71555/01.



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          and degrading treatments in custody (Article 3 ECHR)17. If the Investigating Chamber
          finds that the requested person would face a risk of being subject to violations of their
          Article 3 rights, or that there is a risk of a “flagrant denial of justice” in the requesting
          State, it must deliver a negative opinion to the extradition request.

      37. In the recent years, human rights bars to an extradition request made by the United States
          of America are only the subject to in-depth scrutiny by French courts when the requested
          person faces the imposition of the death penalty18 or the imposition of a life
          imprisonment sentence without the possibility of parole in the USA. We understand that
          this is not the case here. It can be underlined that, when needed, the USA can commit
          not to impose such a sentence and that such a commitment suffices to allow extradition.

      38. As long as the French government receives necessary assurances related to human rights
          when requested, such an argument would be very likely to be rejected in this case.

       (ii)    Dual criminality


      39. A further possible bar to extradition is the dual criminality rule, which requires the
          conduct in respect of which extradition is sought to constitute a criminal offense in the
          law of both requested and requesting States.

      40. Article 2.1 of the Extradition Treaty between the USA and France expressly states that
          “[a]cts shall be extraditable if they are punished under the laws in both States by
          deprivation of liberty for a maximum of at least one year or by a more severe penalty. If
          extradition is requested for purposes of enforcing a judgment, the time remaining to be
          served must be at least six months.”

      41. There is no doubt that the conduct referred to in the Grand Jury charges against Ms
          Ghislaine Maxwell, contained in the Superseding Indictment S1 20 Cr. 330 (AJN), filed
          on July 8th, 2020, also constitutes criminal conduct under French law, as the crime of
          “proxénétisme”.

      42. Article 225-5 of the French Criminal Code defines the crime of “proxénétisme” as “the
          fact, by anyone, in any manner whatsoever: 1° To aid, assist or protect the prostitution


17
     Soering v United Kingdom, 07/07/1989, Application No. 14038/88; Cass. Crim., 26 March 2019, No. 19-81731.
18
     In this regard, see Article 7 of the Extradition treaty between France and the USA.



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        of others; 2° To profit from the prostitution of others, to share the proceeds of
        prostitution or to receive subsidies from a person habitually engaged in prostitution; 3°
        To hire, entice or divert a person to engage in prostitution or to exert pressure on him
        or her to engage or continue to engage in prostitution. 19” Article 225-6 of the French
        Criminal Code provides that the crime is also established by “the fact, by whoever, in
        any way whatsoever: 1° To act as an intermediary between two persons, one of whom
        engages in prostitution and the other exploits or remunerates the prostitution of
        others20”.

     43. In French law, the conduct charged in all four counts21 would qualify as the crime of
        “proxénétisme” under Articles 225-5 and 225-6 of the French Criminal Code.

     44. When committed against a minor, Article 225-7 of the French Criminal Code provides
         that the crime is punished by an enhanced sentence, namely a statutory maximum of 10
        years imprisonment (as opposed to 7 years, when committed against an adult) 22.

     45. Thus, dual criminality would not constitute an obstacle to Ms Ghislaine Maxwell’s
        extradition from France to the USA.

     (iii)    Political offense and manifest inconsistency

     46. Finally, the requested person may argue that the extradition request is politically
        motivated, or that the charges contained in the extradition request are manifestly
        inconsistent with the conduct thereunder.




19
  In French, « Le proxénétisme est le fait, par quiconque, de quelque manière que ce soit :1° D'aider, d'assister
ou de protéger la prostitution d'autrui ; 2° De tirer profit de la prostitution d'autrui, d'en partager les produits ou
de recevoir des subsides d'une personne se livrant habituellement à la prostitution ; 3° D'embaucher, d'entraîner
ou de détourner une personne en vue de la prostitution ou d'exercer sur elle une pression pour qu'elle se prostitue
ou continue à le faire ».

20
   In French, « Est assimilé au proxénétisme et puni des peines prévues par l'article 225-5 le fait, par quiconque,
de quelque manière que ce soit : 1° De faire office d'intermédiaire entre deux personnes dont l'une se livre à la
prostitution et l'autre exploite ou rémunère la prostitution d'autrui […] ».
21
   Conspiracy to Entice Minors to Travel to Engage in Illegal Sex Acts; Enticement of a Minor to Travel to Engage
in Illegal Sex Acts; Conspiracy to Transport Minors with Intent to Engage in Criminal Sexual Activity;
Transportation of a Minor with Intent to Engage in Criminal Sexual Activity.
22
   “Proxénétisme is punishable by ten years imprisonment and a fine of 1,500,000 euros when committed: 1° With
regard to a minor […]”. In French « Le proxénétisme est puni de dix ans d'emprisonnement et de 1 500 000 euros
d'amende lorsqu'il est commis : 1° A l'égard d'un mineur ».



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     47. Article 4 of the Extradition Treaty between the USA and France provides that
        “[e]xtradition shall not be granted by France when the offense for which extradition is
        requested is considered by France as a political offense or as an offense connected with
        a political offense or as an offense inspired by political motives”.

     48. A political motivation claim requires the Investigating Chamber to examine, to some
        extent, the merits of the case. The Court is also required to look into the merits of the
        case where the requested person argues that there is a manifest inconsistency between
        the conduct and the legal offenses in respect of which the extradition is sought 23.

     49. The conduct described in the indictment does not appear to be manifestly inconsistent
         with the offenses charged therein.

     50. As to political motivation, French courts have never opposed extradition requests from
        the USA on this ground24. In fact, in the past ten years, only one published decision of
        the Cour de cassation has denied an American extradition request, on the ground that
        the Investigating Chamber had not verified that the criminal conduct described in the
        request constituted a crime in France at the time of commission25. All other published
        decisions which have ruled on a request from the USA have granted extradition26.

     51. In light of the elements contained in the Superseding Indictment, Ms Ghislaine Maxwell
        could not oppose her extradition to the USA on the basis of a political motivation claim,
        that would have no serious ground, and therefore the Investigating Chamber would not
        look into the merits of the case against her.

     B. The protection of nationals from extradition under French law and the Extradition
        Treaty between the USA and France: Lack of an absolute protection


23
   Cass. Crim., 21 November 2007, No. 07-87540.
24
   See by contrast, a 2016 recent decision of the Conseil d’Etat to deny extradition to Russia of a prominent figure
of the Kazakh opposition, Moukhtar Abliazov, on the ground that the request was politically motivated (available
at: https://www.legifrance.gouv.fr/ceta/id/CETATEXT000033581187/).
25
   Cass. Crim., 14 October 2015, No. 15-84426.
26
   Cass. Crim., 11 March 2020, No. 19-84023 ; Cass. Crim., 21 February 2017, No. 16-87102 ; Cass. Crim., 23
February 2010, No. 09-88021 ; Conseil d'Etat - 2ème et 7ème SSR, 15 April 2016, No. 390860 ; Conseil d'État
– 2ème et 7ème SSR, 19 October 2018, No. 421762 ; Cass. Crim., 4 June 2019, No. 18-84398 ; Cass. Crim., 26
November 2019, No. 19-80274 ; Conseil d'État – 2 ème et 7ème SSR, 1 June 2011, No. 342419 ; Cass. Crim., 21
June 2016, No. 16-81981 ; Cass. Crim., 4 October 2016, No. 16-84450 ; Cass. Crim., 11 May 2011, No. 11-
80942, No. 11-80943 ; Cass. Crim., 10 May 201, No. 11-80989 ; Conseil d'Etat, - 2 ème et 7ème SSR, 7 May
2012, No. 352573 ; Cass. Crim, 13 February 2008, No. 07-88009 ; Cass. Crim., 3 March 2015, No. 14-88308 ;
Cass. Crim., 11 June 2013, No. 13-81979.



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     52. Chapter V of the French Code of Criminal Procedure (Articles 696 to 696-47-1) sets out
         legislative provisions pertaining to extradition.

     53. The rule against the extradition of nationals is set out under Article 696-4, which states
         that extradition shall not be granted when the requested person is a French national, and
        that nationality shall be assessed at the time of the facts in respect of which extradition
        is sought (« Extradition is not granted: 1° When the person sought has the French
        nationality, the latter being assessed at the time of the offence for which extradition is
        requested. »27).

     54. The rule under Article 696-4 only applies “in the absence of an international
        convention stipulating otherwise”28. Therefore, we must determine whether the rule
        against the extradition of nationals contained in the French Code of Criminal
        Procedure applies in respect of an extradition request made by the USA.

     55. Extradition requests between the United States and France are governed by the
        Extradition Treaty between the USA and France 199629, which supersedes French law
        as mentioned explicitly in Article 696 of the French Code of Criminal Procedure.

     56. Article 3(1) of the Extradition Treaty between France and the United States provides:

              “There is no obligation upon the Requested State to grant the extradition of a
              person who is a national of the Requested State, but the executive authority of the
              United States shall have the power to surrender a national of the United States if,
              in its discretion, it deems it proper to do so. The nationality of the person sought
              shall be the nationality of that person at the time the offense was committed”.




27
   In French : « L'extradition n'est pas accordée : 1° Lorsque la personne réclamée a la nationalité française, cette
dernière étant appréciée à l'époque de l'infraction pour laquelle l'extradition est requise ».
28
   Article 696 of the French Code of Criminal Procedure: “In the absence of an international convention stipulating
otherwise, the conditions, procedure and effects of extradition shall be determined by the provisions of this chapter.
These provisions shall also apply to matters which would not have been regulated by international conventions”. (In
French, « En l'absence de convention internationale en stipulant autrement, les conditions, la procédure et les
effets de l'extradition sont déterminés par les dispositions du présent chapitre. Ces dispositions s'appliquent
également aux points qui n'auraient pas été réglementés par les conventions internationales »).
29
   The Extradition treaty between the USA and France was signed in Paris on April 23, 1996 and entered into force
on February 1, 2002 (by Decree No. 2002-117 of 29 January 2002).



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     57. If extradition is refused solely on the basis of the nationality of the person sought, Article
         3(2) requires the requested State to submit the case to its authorities for prosecution, if
         so requested by the requesting State.

     58. Consequently, the Extradition Treaty between France and the USA does not
         contain any prohibition on the extradition of nationals. Instead, it merely states that
         there is no obligation upon the requested State to grant the extradition of a person who
         is one of its nationals.

     59. The Extradition Treaty between France and the USA must therefore be distinguished
         from several international agreements on extradition ratified by France, which, by
         contrast, contain a clear rule against the extradition of French citizens30.

     60. For example, France has made the following declaration pursuant to Article 6 of the
         European Convention on Extradition 1957, which gives Contracting States “the right to
         refuse extradition of nationals”:


         “Extradition shall be refused when the person sought had French nationality at the time
         of the alleged offence”31.

     61. Therefore, France does not surrender French citizens under the European Convention on
         Extradition32.

     62. The Extradition Treaty between France and the USA is similar to other international
         agreements signed by France which also do not contain a prohibition against the
         extradition of nationals. These are generally treaties signed with Common law
         jurisdictions, which do not oppose the extradition of their nationals 33.



30
   See, for example, the Extradition treaty between France and Morocco, or the Extradition treaty between France
and China.
31
   See France’s instrument of ratification of the European Convention on Extradition, deposited on 10 February
1986.
32
   The European Convention on Extradition 1957 is an instrument of the Council of Europe which was signed in
Paris on December 13th, 1957 and came into force on April 18th, 1960. The European Convention on Extradition
is open to signature by non-Council of Europe States, as such it was ratified by South Africa, Israel, and the
Republic of Korea. It was ratified by France on February 10th, 1986.
33
   For example, the Extradition Treaty between France and Canada, signed in Ottawa on 17 November 1988,
contains a similar provision to the United States Treaty: “The requested State shall not be bound to extradite its
own nationals. Nationality shall be determined as of the date of the offence for which extradition is requested”
(Article 3).



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63. The wording of these international agreements, which do not contain a prohibition on
      the extradition of nationals, raises some important questions. In particular, could France
      decide to extradite its nationals on the basis of these international agreements without
      violating applicable international law, European law, or French constitutional law?

64. In order to determine whether the French government may grant an extradition request
      relating to a French citizen under the Extradition Treaty between France and the USA, it
      is thus necessary to evaluate the strength and status of the prohibition of the extradition
      of nationals under (i) applicable international law, (ii) European law, and (iii) French
      constitutional law.

(i)       International law

65. As outlined, international treaties pertaining to extradition generally leave Contracting
      States a right not to extradite their nationals, and State practice largely varies in this
      regard. Some States are strongly committed to the rule against the extradition of nationals
      and have conferred the principle constitutional status (Germany, Poland, Greece,
      Portugal, Estonia, Austria). Others have codified the principle in their national legislation
      (France, Lebanon, Chili, Qatar, Slovenia). By contrast, many States - in particular,
      Common law jurisdictions, including the United Kingdom, Australia, and the USA,
      extradite their own citizens.

66. Thus, there is no uniform rule regarding the extradition of nationals under international
    law.

(ii)      European law

67. European law does not prohibit the extradition of nationals either. As mentioned, Article
      6 of the European Convention on Extradition 1957 provides States with a discretionary
      right on whether or not to extradite their own citizens.

68. More interestingly, the European Arrest Warrant Framework Decision of 13 June 2002
      (hereafter, “EAW FD”), which governs extradition matters between Member States of
      the European Union, does not allow Member States the possibility to refuse the surrender
      of their nationals when the EAW is issued for the purpose of conducting a criminal
      prosecution. In fact, the surrender of a national who is the subject of criminal proceedings
      in another Member State of the European Union is at the cornerstone of the EAW FD.


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     69. Articles 3 and 4 of the EAW FD set out a number of grounds for refusing the enforcement
         of a EAW, that are respectively mandatory and optional. Article 4(6) on optional grounds
        provides that a Member State may refuse the execution of a EAW « issued for the
        purposes of execution of a custodial sentence or detention order, where the requested
        person is staying in, or is a national or a resident of the executing Member State and that
        State undertakes to execute the sentence or detention order in accordance with its
        domestic law ». This article is the only provision in the EAW FD that allows Member
        States to consider nationality in the execution of a EAW. As such, nationality can only
        act as a bar to the execution of a EAW issued for the purpose of executing a custodial
        sentence, not conducting a criminal prosecution.

     70. It follows that European Union law does not prohibit the extradition of nationals.

     (iii)    French constitutional law

     71. As regards the status of the protection of nationals from extradition under French law,
        the fact that France did not have to change its Constitution or domestic laws regarding
        the extradition of nationals to incorporate the EAW FD effectively means that the
        prohibition against the surrender of a French citizen to foreign authorities does not
        constitute an absolute prohibition per se under French law34.

     72. The Conseil Constitutionnel (French constitutional Court) has long considered that France
         could not ratify an international amendment which went against the Constitution, thereby
        necessitating a modification of the text of the Constitution prior to the ratification of the
        purported international treaty35. For example, the Constitution had to be amended prior to
        the ratification of the Rome Statute, to create an exception to the rule that the President of
        the Republic cannot be found criminally liable in respect of acts committed during his
        mandate. By contrast, the provisions of the Rome Statute which require Contracting Parties
        to surrender their nationals when the jurisdiction of the International Criminal Court is
        established did not trigger an amendment to the French Constitution. Like the EAW FD,
        the example of the Rome Statute must be taken as evidence that there is no constitutional
        principle against the extradition of nationals in France.



34
   By contrast, several Member States of the EU such as Germany, Poland or Cyprus, had to amend their national
constitutions prior to incorporating the EAW FD, following constitutional courts’ rulings.
35
   Décision No. 98-408 DC, 22 Janvier 2009.



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     73. The Conseil d’Etat was once asked by the French government to deliver an opinion
        precisely on this point. It stated that the government’s practice of refusing the extradition
        of nationals “finds no basis in a principle of constitutional value. None of the rights and
        liberties of the citizen, as proclaimed by the Declaration of the Rights of Men and
        Citizens of 1789 and by the preamble of the Constitution of 1946, implies that nationals
        cannot be extradited […] No doubt the laws adopted and the international conventions
        signed by France attest to the authority of the rule that nationals are not extradited. But,
        in support of this rule, there are no grounds for considering it as a fundamental principle
        recognized by the laws of the Republic, having constitutional value by virtue of the
        Preamble to the Constitution of 1946. »36.

     74. Therefore, the French Constitution does not prevent the executive from extraditing
        French citizens.

     75. It follows from this opinion and the above that the decision to apply the principle against
         the extradition of nationals is a matter for the executive, which could choose not to
        enforce it and thus choose to extradite a national without violating French constitutional
        law, European law or international law, taking into account the provisions of the
        Extradition Treaty between the USA and France of 23 April 1996 which supersede
        French law and do not prohibit the extradition of French nationals.

Conclusion

     76. In the event that Ms Ghislaine Maxwell were to flee to France and become the subject
         of an extradition request, and where she has already executed an irrevocable waiver of
        her right to contest extradition, the Investigating Chamber would have to rule on the
        legality of the extradition request in accordance with the procedure described in Part I.
        Because the extradition of French nationals is not prohibited by the Constitution or the
        Extradition Treaty between the USA and France, the Investigating Chamber would not
        be legally bound to oppose to the extradition request. It would then become a matter for
        the French government to decide on whether or not to issue an extradition decree against
        Ms Ghislaine Maxwell.

     77. In the recent past, I am not aware that the French authorities have had to address the
         situation in which the United States sought extradition of a French citizen who was also

36
   « Avis Consultatif, Conseil d’Etat, 24 November 1994, No. 356-641 », available at https://www.conseil-
etat.fr/jadefile/avisadm/356641.pdf



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        a United States citizen. Thus, there is no precedent to draw from in that
        regard. However, it is our view that under the specific and unique facts of this case, it is
        highly unlikely that the French government would refuse to issue and execute an
        extradition decree against Ms Maxwell because of several critical factors.

     78. First, under the applicable Extradition Treaty between the USA and France, a State party
         may refuse extradition on the basis of nationality, however if it does so, it is obliged to
        prosecute the requested person itself, on the basis of the conduct and the allegations
        contained in the request. In the case of Ms Ghislaine Maxwell, it is highly unlikely that the
        French government would be inclined to conducting such prosecution, considering that all
        the relevant facts were committed in the USA, a long time ago, and that witnesses are also
        located in the USA.

     79. Secondly, France is mindful to preserve its good extradition relations with the United
        States, as evidenced by a number of recent cases we reviewed or conducted in which
        French competent authorities proved highly cooperative with US authorities. If Ms
        Ghislaine Maxwell were to flee to France, and the USA decided to issue an extradition
        request, it would be difficult for French authorities – from a diplomatic point of view – to
        deny such an extradition request, considering that no legal bar applies.37

     80. Thirdly, the fact that Ms Ghislaine Maxwell also holds American nationality, and has
        substantial ties to the USA, would, in all likelihood, be taken into account by the French
        government as one more element weighing in favor of extradition.

     81. Similarly, and fourthly, the fact that Ms Ghislaine Maxwell signed a legally binding
         Waiver under US law, and would have subsequently fled to France in violation of her bail
        conditions, could equally be taken into account by the French government as an incentive
        not to grant Ms Ghislaine Maxwell the benefit of her French nationality as a ban to
        extradition.



                                                      William Julié




37
  Of the 36 reported Supreme Court decisions involving extradition requests from the United States in the last 20
years, the French authorities granted extradition in 34 of these cases. Lower court decisions granting extradition
were quashed only twice for procedural deficiencies not at issue in this case.



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